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                             The Deposition of
                     DERAY MCKESSON


                              In the Matter of
                              JOHN FORD
                                   versus
                      DERAY MCKESSON


                                 Taken On
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